          Case 3:20-cv-01481-JD Document 1-2 Filed 02/27/20 Page 1 of 2



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     LLC and CP DEVELOPMENT CO., LLC
 7

 8                              UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10
                                                     Case No. _________________
11   FIVE POINT HOLDINGS, LLC and CP
     DEVELOPMENT CO., LLC                            CORPORATE DISCLOSURE
12                                                   STATEMENT OF FIVE POINT
                          Plaintiffs,                HOLDINGS, LLC AND CP
13                                                   DEVELOPMENT CO., LLC
     v.
14
     TETRA TECH, INC.; TETRA TECH EC,
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     INC; and ROES 1-100 Inclusive,
16
                          Defendants.
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                                                             FIVE POINT AND CP DEVELOPMENT
                                                                      CORPORATE DISCLSOURE
     LEGAL02/39633806v1
        Case 3:20-cv-01481-JD Document 1-2 Filed 02/27/20 Page 2 of 2



 1           Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,

 2   associations of persons, firms, partnerships, corporations (including parent corporations) or other

 3   entities (i) have a financial interest in the subject matter in controversy or in a party to the

 4   proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be

 5   substantially affected by the outcome of this proceeding:

 6           1. Five Point Operating Company, LP;

 7           2. The Shipyard Communities, LLC;

 8           3. UST Lennar HW Scala SF Joint Venture;

 9           4. HPSCP Opportunities, L.P.
10
     Dated: February 27, 2020                               RESPECTFULLY SUBMITTED,
11
                                                            JEFFREY D. DINTZER
12                                                          MATTHEW C. WICKERSHAM
                                                            ALSTON & BIRD LLP
13

14                                                          By:      /s/ Jeffrey D. Dintzer
                                                                  Jeffrey D. Dintzer
15
                                                            Attorneys for Plaintiffs FIVE POINT
16                                                          HOLDINGS, LLC and CP DEVELOPMENT
                                                            CO., LLC
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                                                                        FIVE POINT AND CP DEVELOPMENT
                                                        2                        CORPORATE DISCLSOURE
     LEGAL02/39633806v1
